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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 MICHAEL C. MAYO,                            )
                                             )
               Plaintiff,                    )         Case No.: 1:21-cv-04653
                                             )
        v.                                   )         Hon. Judge John J. Tharp, Jr.
                                             )
                                             )
 LARRY GAVIN, KAREN JONES-                   )
 HAYES, DAMITA DELITZ, BRENDON               )
 LOMBARDI, DIRECTOR MILLER,                  )
 OFFICER BUCHANAN, THOMAS                    )
 DART, AND LIEUTENANT DOUGE,                 )
            Defendants.                      )
                                             )
                                             )
                                             )

  DEFENDANT, BRENDAN LOMBARDI’S UNOPPOSED MOTION FOR LEAVE TO
       FILE HIS AMENDED ANSWER AND AFFIRMATIVE DEFENSES

       NOW COMES Defendant, BRENDAN LOMBARDI (“Defendant”), by and through his

attorneys DeVore Radunsky LLC, and in support of this Unopposed Motion Seeking Leave to File

an Amended Answer and Affirmative Defenses, Defendant states the following:

       1.     On June 16, 2022, Plaintiff filed his Third Amended Complaint (hereinafter

“TAC”) against Defendant. (Ex. 1, Plaintiff’s TAC)

       2.     On September 13, 2022, Defendant filed his Answer to Plaintiff’s TAC. (Ex. 2,

Defendant Brendan Lombardi Answer to Plaintiff’s TAC)

       3.     In his initial Answer to Plaintiff’s TAC, defendant Lombardi did not answer

allegations #1-114. Instead, he only answered the allegations contained in paragraphs 150-158 or

Counts VI and VII of Plaintiff’s TAC that were directed against him.
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       4.      Defendant Lombardi now requests that he be permitted leave of court to answer the

remaining allegations, paragraphs #1-114, of Plaintiff’s TAC.

       5.      Allegations in paragraphs #115-149 of Plaintiffs TAC relate to other defendants for

which Lombardi would make no answer.

       6.      Defendant’s counsel has conferred with Plaintiff’s counsel, and the plaintiff has no

objection to the filing of this motion.

       7.       A draft of Defendant Lombardi’s Amended Answer and Affirmative Defenses to

Plaintiff’s Third Amended Complaint is attached to this motion as Exhibit 3. (Ex. 3, Draft of

Lombardi’s Amended Answer and Affirmative Defenses)

       WHEREFORE, Defendant BRENDON LOMBARDI, by and through his attorneys

DeVore Radunsky LLC, respectfully requests this Honorable Court grant Defendant, Brendan

Lombardi’s Motion For Leave to File his Amended Answer and Affirmative Defenses.

                                                     Respectfully Submitted,

                                             By:     /s/ Troy S. Radunsky
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                                          Attorneys for Plaintiff Michael C. Mayo




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                                 CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on October 12, 2022, he electronically
filed the foregoing document, which will send a notice of electronic filing to all counsel of record.

                                                      /s/ Troy S. Radunsky
                                                      Troy S. Radunsky




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